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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION

  UNITED STATES OF AMERICA

        v.                                CASE NO. 6:20-cr-34-Orl-41EJK

  CARL STUART FAREY
   a/k/a Carl Stuart

         APPLICATION FOR, AND FACTUAL ALLEGATIONS IN
            SUPPORT OF JUDICIAL ORDER OF REMOVAL

        The United States of America hereby moves for the entry of an Order of

  Judicial Removal and Notice is hereby given to Defendant CARL STUART

  FAREY (the defendant) and to his attorney of record Corey I. Cohen, that the

  United States of America alleges the following facts in support of the Notice of

  Intent to Request Judicial Removal:

        1.     The defendant is not a citizen or national of the United States.

        2.     The defendant is a native of the United Kingdom and a citizen of

  the United Kingdom.

        3.     The defendant was admitted to the United States as a legal

  permanent resident alien at the Orlando International Airport in Orlando,

  Florida, on or about September 17, 2013.

        4.     At the time of sentencing in the instant criminal proceeding, the

  defendant will have been convicted in the United States District Court, Middle
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  District of Florida, under Counts One and Two of the Information, which

  charge the defendant with aiding and abetting visa fraud, in violation of 18

  U.S.C. § 1546(a).

        5.     The maximum sentence for a violation of 18 U.S.C. § 1546(a) is

  10 years’ imprisonment.

        6.     The defendant is, and at sentencing will be, subject to removal

  from the United States pursuant to: 8 U.S.C. § 1227(a)(2)(A)(ii), as an alien who

  has been convicted of two or more crimes involving moral turpitude after

  admission.

        WHEREFORE, pursuant to Section 238(c) of the INA, 8 U.S.C. §

  1228(c), the United States of America requests that the Court, at the time of




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  sentencing, order that the defendant be removed from the United States to the

  United Kingdom.

                                        Respectfully submitted,

                                        MARIA CHAPA LOPEZ
                                        UNITED STATES ATTORNEY


                                  By: s/ Amanda S. Daniels
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                         CERTIFICATE OF SERVICE

        I hereby certify that on June 22, 2020, I electronically filed the

  foregoing with the Clerk of the Court by using the CM/ECF system.

        Corey I. Cohen


                                          s/ Amanda S. Daniels
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